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 8                               UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                )       Case No. 12CR3847-03-IEG
11                                             )
                           Plaintiff,          )       ORDER OF DISMISSAL OF
12                                             )       INDICTMENT AS TO DEFENDANT
                           v.                  )       BETHANY COSTA AND JUDGMENT
13                                             )
      BETHANY COSTA (3),                       )
14                                             )
                           Defendant.          )
15                                             )
                                               )
16

17           Upon the United States’ motion and good cause being shown,

18           IT IS HEREBY ORDERED that the Indictment in Case No. 12-CR-3847 as to

19    defendant BETHANY COSTA be dismissed without prejudice.

20    DATED: July 11, 2013

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22                                             IRMA E. GONZALEZ
                                               United States District Judge
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